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           MINUTE ORDER OF THE UNITED STATES DISTRICT COURT

                       SOUTHERN DISTRICT OF CALIFORNIA



Case Name: USA v. Murphy                            Case Number: 15cr3163-CAB

Hon. Cathy Ann Bencivengo       Ct. Deputy Lori Hernandez       Rptr Tape: N/A


On December 4, 2020, Defendant James Murphy filed a motion for sentence reduction pursuant
to 18 U.S.C. § 3582(c)(1)(A), which he requested to be filed under seal. [Doc. No. 27.] The
motion was erroneously not filed under seal. Accordingly, it is hereby ORDERED that the
Clerk of the Court shall correct the docket to file Defendant’s motion, Docket Number 27,
under seal forthwith.


Date: December 30, 2020                                                      Initials: HHR
